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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA




PARS EQUALITY CENTER, IRANIAN                        Civil Action No. 1:17-cv-255
AMERICAN BAR ASSOCIATION,
NATIONAL IRANIAN AMERICAN                            Hon. Tanya S. Chutkan
COUNCIL, PUBLIC AFFAIRS ALLIANCE
OF IRANIAN AMERICANS, INC., et al.,

              Plaintiffs,

              v.

DONALD J. TRUMP et al.,

              Defendants.


              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Plaintiffs1—individual Iranian nationals and four national Iranian-American

organizations—hereby move for a preliminary injunction as set forth below and for the reasons

set forth in the accompanying Memorandum of Law in Support of Plaintiffs’ Motion for

Preliminary Injunction (“Memorandum”). See Fed. R. Civ. P. 65(a). Plaintiffs seek to enjoin

Defendants from enforcing or implementing certain provisions of President Donald J. Trump’s

Executive Order No. 13,780, entitled “Protecting the Nation from Foreign Terrorist Entry into

the United States.” As demonstrated in the Memorandum, the Executive Order and Defendants’


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     This Motion for a preliminary injunction is filed, by and through undersigned counsel, on
behalf of organizational Plaintiffs Pars Equality Center, Iranian American Bar Association,
National Iranian American Council and Public Affairs Alliance of Iranian Americans, Inc. as
well as individual Plaintiffs Ali Asaei, Shiva Hissong, John Doe #1, John Doe #3, John Doe #5,
on behalf of himself and his minor child Baby Doe #1, John Doe #7, John Doe #8, Jane Doe #1,
Jane Doe #4, Jane Doe #8, Jane Doe #9, Jane Doe #10, Jane Doe #11, Jane Doe #12, and Jane
Doe #13. The remaining individual Plaintiffs were harmed by Defendants’ conduct and remain
Plaintiffs in the above-captioned matter for purposes of seeking permanent relief.
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implementation of it violate the First and Fifth Amendments of the U.S. Constitution, the

Immigration and Nationality Act and its implementing regulations, and the Administrative

Procedure Act. Defendants should be enjoined from enforcing or implementing §§ 2(c)-(e), 3,

6(a), and 6(c) of the Executive Order.

       Pursuant to Local Rule 7(m), counsel for Plaintiffs state that they have conferred with

opposing counsel regarding the filing of this motion for preliminary injunction. Defendants

intend to file a response to the motion for preliminary injunction in accordance with the Court’s

scheduling order. Dkt. 33.

       For the foregoing reasons, Plaintiffs respectfully request that this Court grant their

Motion for Preliminary Injunction.

       A proposed Order is attached hereto.




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Dated: March 15, 2017                      Respectfully submitted,


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